UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

                -against-                              18 Cr. 567 (VSB)

 CHRISTOPHER COLLINS,
 CAMERON COLLINS, and
 STEPHEN ZARSKY,
                               Defendants.


         NOTICE OF CHRISTOPHER COLLINS’ MOTION TO COMPEL
                 LIMITED PRODUCTION OF MATERIALS
    BEARING ON THE SPEECH OR DEBATE CLAUSE OF THE CONSTITUTION
                   AND LOCAL RULE 16.1 STATEMENT


       PLEASE TAKE NOTICE THAT Christopher Collins, defendant in the above-

captioned action, hereby presents this motion seeking an order compelling the production of

materials bearing on the Speech or Debate Clause of the United States Constitution (the

“Motion”);

       PLEASE TAKE FURTHER NOTICE that the Motion is made and based on this

Notice of Motion, the annexed Memorandum of Law filed concurrently in support hereof, the

Declaration of Kendall Wangsgard, Esq., and on such other pleadings, records, oral and

documentary evidence and arguments as may be presented to the Court; and

       PLEASE TAKE FURTHER NOTICE that any opposition to the Motion must be filed

on or before March 8, 2019.

       LOCAL RULE 16.1 STATEMENT. It is hereby certified that the Motion is made

following conference of counsel to discuss the relief requested. Counsel for the parties have

telephonically met-and-conferred on in good faith to resolve by agreement the issues raised by


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the Motion. However, the parties have been unable to reach agreement with respect to the issues

raised in the Motion.



                                                   Respectfully submitted,

New York, New York
February 8, 2019

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